      Case 14-14865          Doc 142         Filed 10/03/17 Entered 10/03/17 14:22:57         Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS (CHICAGO)


  IN RE:
                                                              Case No.: 14-14865
            Goran Ilijevski                                   Chapter: 13
                                                              Hearing Date: 10/13/17
                                                  Debtor(s)
                                                              Judge Pamela S. Hollis
                                                NOTICE OF MOTION

TO:     Glenn B Stearns, Chapter 13 Trustee, 801 Warrenville Road, Suite 650, Lisle, IL 60532 by electronic
        notice through ECF
        Goran Ilijevski, Debtor(s), 806 Barclay Drive, Bolingbrook, IL 60440
        Diana Ilijevski, Co-Debtor, 806 Barclay Drive, Bolingbrook, IL 60440
        Mohammed O Badwan, Attorney for Debtor(s), 2500 S. Highland Ave Suite 200 , Lombard, IL 60148 by
        electronic notice through ECF



          PLEASE TAKE NOTICE that on the 10/13/17, at 10:45AM, or as soon thereafter as counsel may
  be heard, I shall appear before the Honorable Judge Pamela S. Hollis, Bankruptcy Judge, in the courtroom
  usually occupied by him/her at the Joliet City Hall, 150 West Jefferson Street, 2nd Floor, Joliet, Illinois
  60432 or before any other Bankruptcy Judge who may be sitting in his/her place and stead, and shall then
  and there present this Motion of the undersigned, a copy of which is attached hereto and herewith served
  upon you, and shall pray for the entry of an Order in compliance therewith, at which time you may appear
  if you so desire.

                                                PROOF OF SERVICE

           The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
  the attached Motion upon the parties listed above, as to the Trustee and Debtor's attorney via electronic
  notice on October 3, 2017 and as to the debtor and co-debtor by causing same to be mailed in a properly
  addressed envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour
  of 5:00 PM on October 3, 2017.


                                                                     /s/ Jose Moreno
                                                                       Attorney for Movant

  Berton J. Maley ARDC#6209399
  Rachael A. Stokas ARDC#6276349
  Gloria C. Tsotsos ARDC#6274279
  Jose G. Moreno ARDC#6229900
  Peter C. Bastianen ARDC#6244346
  Joel P. Fonferko ARDC#6276490
  Codilis & Associates, P.C.
  15W030 North Frontage Road, Suite 100
  Burr Ridge, IL 60527
  (630) 794-5300
  C&A FILE (14-16-04619)

  NOTE: This law firm is a debt collector.
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                                           CERTIFICATE OF SERVICE


       The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
along with the attached Motion upon the parties listed below, as to the Trustee and Debtor's
attorney via electronic notice on October 3, 2017 and as to the debtor and co-debtor by causing
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                                                                 /s/ Jose Moreno
                                                                   Attorney for Movant

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                       UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF ILLINOIS (CHICAGO)
IN RE:
                                                    Case No.: 14-14865
        Goran Ilijevski                             Chapter: 13
                                                    Hearing Date: 10/13/17

                                       Debtor(s)    Judge Pamela S. Hollis


MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY OR
 IN THE ALTERNATIVE TO DISMISS THE CASE FOR FAILURE TO MAKE PLAN
                            PAYMENTS


       NOW COMES HSBC Bank USA, National Association as Trustee for Wells Fargo
Asset Securities Corporation, Mortgage Pass-Through Certificates, Series 2006-15, (hereinafter
"Movant"), by and through its attorneys, Codilis & Associates, P.C., and moves this Honorable
Court pursuant to 11 U.S.C. §362(d) and §1301(c) for an Order granting Movant relief from the
automatic stay and co-debtor stay, or alternatively, for entry of an order dismissing the case
pursuant to 11 U.S.C. §1307, and in support thereof states as follows:


       1.      This Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal Operating
Procedure 15(a) of the United States District Court for the Northern District of Illinois, Eastern
Division;


       2.      The Debtor is indebted to Movant for which the Movant claims a valid security
interest in the property commonly known as 806 Barclay Drive, Bolingbrook, IL 60440;


       3.      Enforcement of this security interest has been stayed automatically by operation
of 11 U.S.C. §362 of the Bankruptcy Code upon Debtor filing of this petition on 4/21/14;


       4.      The Chapter 13 plan herein provides for the cure of the default of said mortgage
and maintenance of current payments during the pendency of the proceeding;


       5.      Pursuant to the plan, Debtor(s) is/are to disburse the current monthly mortgage
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payments directly to Movant beginning with the first payment due after the filing of the Chapter
13 Bankruptcy (subject to periodic adjustment due to change in escrow);


       6.      Movant is entitled to relief from the automatic stay under 11 U.S.C. Section
362(d) for the following reasons:


                  a)     As of 09/21/2017, the Debtor(s) is/are past due for the 7/1/16 payment,
                         and all amounts coming due since that date. Any payments received
                         after this date may not be reflected in this default;


                  b)     As of 09/21/2017, the total post-petition default through and including
                         9/1/17, is $68,950.76, which includes a suspense credit of $4,548.24,
                         and a Return Item/NSF Fee of $25.00. Any payments received after this
                         date may not be reflected in this default.
                  c)     On 10/01/2017, the default will increase to $73,525.63 and will continue
                         to increase as additional amounts become due;


       7.      Said failure to make post-petition mortgage payments is sufficient grounds for
relief from the automatic stay for cause pursuant to 11 U.S.C. Section 362(d)(1);


       8.      That sufficient grounds exist to dismiss this proceeding under 11 U.S.C. §1307 as:


                  a)     debtor’s failure to timely pay post-petition mortgage payments as
                         required under the plan and 11 U.S.C. §1322(b)(2) and (b)(5) constitutes
                         an unreasonable delay that is prejudicial to moving creditor and the case
                         should be dismissed under §1307(c)(1);


                  b)     debtor’s failure to timely pay post-petition mortgage payments as
                         required under the plan and 11 U.S.C. §1322(b)(2) and (b)(5) constitutes
                         “cause” and the case should be dismissed under the general provisions of
                         11 U.S.C. §1307;
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                    c)   the default in post-petition mortgage payments constitutes a material
                         default under paragraph C of the Chapter 13 plan and case should be
                         dismissed under §1307(c)(6);




       9.      This Court has authority to order that Rule 4001(a)(3) is not applicable to the
order entered in granting this motion, and Movant requests this Court so order;


       10.     Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The
promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly
or through an agent, has possession of the promissory note. Creditor is the original mortgagee or
beneficiary or the assignee of the mortgage or deed of trust;



       11.     That the subject note and mortgage are co-signed by Diana Ilijevski and that to
the extent that the co-debtor stay of 11 U.S.C. §1301 applies to real estate loans, it applies to
Diana Ilijevski and grounds exist for relief therefrom under 11 U.S.C. §1301(c)(1) as the co-
debtor received an ownership interest in the house and under 11 U.S.C. §1301(c)(3) if the
automatic stay is modified therein;
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         WHEREFORE, HSBC Bank USA, National Association as Trustee for Wells Fargo
Asset Securities Corporation, Mortgage Pass-Through Certificates, Series 2006-15 prays this
Court enter an Order pursuant to 11 U.S.C. Section 362(d) and Section 1301(c) modifying the
automatic stay and co-debtor stay as to Movant, or alternatively, for an entry of an order
dismissing the case pursuant to 11 U.S.C. §1307, and for such other and further relief as this
Court may deem just and proper.
         Dated this October 3, 2017.
                                                             Respectfully Submitted,

                                                             Codilis & Associates, P.C.


                                                             By: /s/ Jose Moreno

                                                             Berton J. Maley ARDC#6209399
                                                             Rachael A. Stokas ARDC#6276349
                                                             Gloria C. Tsotsos ARDC#6274279
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